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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −90)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,426 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                                                      John W. Nichols
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                  MDL No. 2804



                   SCHEDULE CTO−90 − TAG−ALONG ACTIONS



 DIST       DIV.      C.A.NO.      CASE CAPTION


COLORADO

  CO          1       19−01048     City of Brighton v. Purdue Pharma, L.P. et al

GEORGIA SOUTHERN

                                   Chatham County Hospital Authority, Georgia v.
  GAS         4       19−00086     Amerisourcebergen Drug Corporation et al

MARYLAND

                                   The City of Annapolis, Maryland v. Purdue Pharma L.P.
  MD          1       19−01162     et al

MINNESOTA

  MN          0       19−01077     City of Duluth, Minnesota v. Purdue Pharma L.P. et al

MISSISSIPPI NORTHERN

                                   Patient's Choice Medical Center of Humphreys County,
  MSN         4       19−00051     LLC v. Purdue Pharma L.P. et al

MISSISSIPPI SOUTHERN

                                   Patients' Choice Medical Center of Claiborne, LLC v.
  MSS         5       19−00030     Purdue Pharma, L.P. et al

NEW MEXICO

                                   Board of County Commissioners of the County of
  NM          1       19−00342     Bernalillo v. AmerisourceBergen Drug Corporation et al

NEW YORK WESTERN

                                   City of Lackawanna, New York v. Purdue Pharma, L.P.
 NYW          1       19−00485     et al
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OKLAHOMA NORTHERN

                                  Board of County Commissioners of County of Tulsa,
 OKN         4       19−00205     The v. Purdue Pharma L.P. et al

OKLAHOMA WESTERN

 OKW         5       19−00339     Mustang City of v. Purdue Pharma LP et al
 OKW         5       19−00345     Midwest City City of v. Purdue Pharma LP et al
 OKW         5       19−00351     Enid City of v. Purdue Pharma LP et al

VIRGINIA WESTERN

 VAW         6       19−00021     City of Lexington, Virginia v. Purdue Pharma L.P. et al
 VAW         7       19−00302     Franklin County, Virginia v. Purdue Pharma L.P. et al

WISCONSIN WESTERN

                                  Bad River Band of Lake Superior Chippewa v. Watson
 WIW         3       19−00204     Laboratories, Inc. et al
